                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    Case No. 5:18-cv-00017-FL

                                              )
TIMOTHY DANEHY,                               )
Plaintiff(s),                                 )
                                              )
vs                                            )
                                              )
EXPERIAN INFORMATION SOLUTION, INC., et al.   )
Defendant(s).                                 )

  DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A
              DIRECT FINANCIAL INTEREST IN LITIGATION

Pursuant to Fed.R.Civ.P. 7.1 and Local Civil Rule 7.3, or Fed.R.Crim.P. 12.4 and Local Criminal
Rule 12.3,

                                        Defendant
Equifax Information Services LLC who is ______________________,
_______________________
(name of party)                          (plaintiff/defendant/other:_______________)

makes the following disclosure:

1. Is party a publicly held corporation or other publicly held entity?

        YES                           NO

2. Does party have any parent corporations?

        YES                           NO


If yes, identify all parent corporation, including grandparent and great-grandparent corporations:
Equifax Inc.
3. Is 10% or more of the stock of a party owned by a publicly held corporation or other
publicly held entity?

        YES                           NO



If yes, identify all such owners:
Equifax Inc.




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4. Is there any other publicly held corporation or other publicly held entity that has a direct
financial interest in the outcome of the litigation (Local Civil Rule 7.3 or Local Criminal Rule 12.3)?

        YES                             NO

If yes, identify entity and nature of interest:


5. Is party a trade association?

        YES                             NO

If yes, identify all members of the association, their parent corporations, and any publicly held
companies that own 10% or more of a member’s stock:


6. If case arises out of a bankruptcy proceeding, identify any trustee and the members of any
creditors’s committee:
n/a

                                                             /s/ Bradley J. Lingo (L.R. 83.1 Counsel)
                                                  Signature: _____________________________

                                                  Date:      10/11/2018
                                                             _____________________________




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of October, a copy of the foregoing pleading was

filed electronically with the clerk of court via the Court’s ECF system which will send

notifications to ECF participants, and Plaintiff was served via U.S. Mail, postage prepaid:

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